
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. Respondent is responsible for the maintenance of County Route 1/6 in Kanawha County.
2. On or around April 15,2007, the Claimant’s property suffered flood damage as a result of a clogged culvert during a rain event.
3. For the purposes of settlement, Respondent acknowledges culpability for the preceding incident.
4. Claimant and Respondent believe that in this particular incident and under these particular circumstances that an award of four thousand five hundred dollars ($4,500.00) would be a fair and reasonable amount to settle this claim.
5. The parties to this claim agree that the total sum of four thousand five hundred dollars ($4,500.00) to be paid by Respondent to the Claimant in Claim No. CC-07-281 will be a full and complete settlement, compromise and resolution of all matters in controversy in said claim and full and complete satisfaction of any and all past and future claims Claimant may have against Respondent arising from the matters described in said claim.
The Court has reviewed the facts of the claim and finds that respondent was negligent in its maintenance of County Route 1/6 in Kanawha County on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained to claimant’s property; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for her loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $4,500.00.
Award of $4,500.00.
